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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                    CASE NO. 15CR1794-BAS

                       Plaintiff,                                      :\"{   --~--~ ~--~

                vs.                          JUDGMENT OF DISMISSAL
BLANCA GARCIA SANTILLAN (1),

                        Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without_prej udiceror

      the Court has dismissed the case for unnecessary delay; or

      the Court has granted the motion of the Government for dismissal,
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

 XX   the jury has returned its verdict, finding, the defendant not guilty;

      of the offense(s)as charged in the Indictment/Information:

         21: 952 AND 960 - IMPORTATION OF METHAMPHETAMINE



            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: OCTOBER 22, 2015
                                              Cynthia Bashant
                                              U.S. District Judge
